                                     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 1 of 19
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            TRUSTEES OF THE UNIVERSITY OF
ABBY SLAKOFF                                                                                                PENNSYLVANIA, ANNE CUNNINGHAM
                                                                                                            (individually), SUSAN CURRAN (individually),
    (b) County of Residence of First Listed Plaintiff             Philadelphia                                County of Residence of First Listed Defendant Philadelphia
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Chloe E. Gartside
DereK Smith Law Group , PLLC
1845 Walnut St. Ste. 1601, Philadelphia PA 19103 (215) 391-4790

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            42 U.S.C. §§ 2000e to 2000e-17, the Family Medical Leave Act (“FMLA”), the American with Disabilities Act of 199
VI. CAUSE OF ACTION Brief description of cause:
                                           DISABILITY DISCRIMINATION, INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, HOSTILE WORK ENVI
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/22/2018
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 06/17)   Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 2 of 19
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
            Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 3 of 19



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
-----------------------------------------------------------------------------X
ABBY SLAKOFF,
                                                                                  Civil Action No.
                                              Plaintiff,

                  -against-

                                                                                 COMPLAINT
TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, ANNE CUNNINGHAM
(individually), SUSAN CURRAN (individually),
ERIKA GROSS (individually) and MARY BRYAN
(individually).
                                                                                 Plaintiff Demands A
                                                                                 Trial by Jury

                                               Defendants.
-----------------------------------------------------------------------------X

Plaintiff, ABBY SLAKOFF, as and for her Complaint against TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, ANNE CUNNINGHAM (individually), SUSAN
CURRAN (individually), ERIKA GROSS (individually) and MARY BRYAN (individually)
respectfully alleges upon information and belief as follows:


                                                 NATURE OF THE CASE

    1. Plaintiff complains pursuant to Title VII of the Civil Rights Act of 1964, as codified, 42

         U.S.C. §§ 2000e to 2000e-17 (amended in 1972, 1978 and by the Civil Rights Act of

         1991, Pub. L. No. 102-166 (“Title VII”)), the Family Medical Leave Act (“FMLA”), the

         American with Disabilities Act of 1990, 42 U.S.C. § 12101 et. seq (“ADA”), and the

         Pennsylvania Human Relations Act, as amended, 43 P.S. §§ 951, et. seq. (“PHRA”) and

         the Philadelphia Fair Practices Ordinance, § 9-1100 et. seq. (“PFPO”) and seeks damages

         to redress the injuries Plaintiff has suffered as a result of being discriminated against,
      Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 4 of 19



   retaliated against, and terminated by her employer due to her disability, religion, and

   status as a victim of domestic violence.

                             JURISDICTION AND VENUE

2. Jurisdiction of this action is conferred upon the court as this action involves a Federal

   Question under Title VII of the Civil Rights Act of 1964, the Family Medical Leave Act

   (“FMLA”), and the Americans with Disabilities Act of 1990.

3. Venue is proper in this district based upon Defendants’ principal place of business within

   the County of Philadelphia, Commonwealth of Pennsylvania, within the Eastern District

   of Pennsylvania. Additionally, Defendant employed Plaintiff in and the events in

   question took place in Pennsylvania within the Eastern District of Pennsylvania.

4. On or about September 1, 2017, Plaintiff filed charges with the EEOC against

   Defendants as set forth herein.

5. Plaintiff’s claim was dual filed and is currently pending with the Pennsylvania Human

   Relations Commission.

6. Plaintiff intends to seek leave from the court to Amend her complaint once her State and

   City claims are ripe.

7. On or about November 27, 2017, the Equal Employment Opportunity Commission

   issued Plaintiff her right to sue.

8. This action is being commenced within 90 days of receipt of the EEOC Right to Sue

   Letter.




                                   PARTIES
      Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 5 of 19



9. Plaintiff ABBY SLAKOFF (hereinafter also referred to as Plaintiff and/or “SLAKOFF”)

   is an individual female, residing in Philadelphia County in the Commonwealth of

   Pennsylvania.

10. Defendant The Trustees of the University of Pennsylvania (hereinafter referred to as

   Defendant and/or “UNIVERSITY OF PENNSYLVANIA”) is a private educational

   institution duly existing under the law of the State of Pennsylvania and is located at 3451

   Walnut Street, Philadelphia, PA 19104.

11. That always herein mentioned, Defendant UNIVERSITY OF PENNSYLVANIA

   operated a Student Health Services located at 3535 Market Street, Floor 1, Philadelphia,

   PA 19104.

12. That at all times material, Defendant Anne Cunningham (hereinafter Defendant and/or

   “CUNNINGHAM”) is employed by Defendant UNIVERSITY OF PENNSYLVANIA at

   Defendant’s Student Health Services’ above mentioned location and held title of Nurse

   Manager with direct supervisory authority over Plaintiff.

13. That at all times material, Defendant SUSAN CURRAN (hereinafter Defendant and/or

   “CURRAN”) was employed by Defendant UNIVERSITY OF PENNSYLVANIA at

   Defendant’s Student Health Services’ above-mentioned location and held title of Human

   Resource Manager with supervisory authority over Plaintiff.

14. That at all times material, Defendant ERIKA GROSS (hereinafter Defendant and/or

   “GROSS”) was employed by Defendant UNIVERSITY OF PENNSYLVANIA at

   Defendant’s Student Health Services’ above-mentioned location and held title of Director

   of Finance with supervisory authority over Plaintiff.

15. That at all times material, Defendant MARY BRYAN (hereinafter Defendant and/or

   “BRYAN”) is employed by Defendant UNIVERSITY OF PENNSYLVANIA at
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 6 of 19



   Defendant’s Student Health Services’ above-mentioned location and held title of nurse

   with supervisory authority over Plaintiff.

16. That at all times material, Plaintiff was employed by Defendant UNIVERSITY OF

   PENNSYLVANIA at Defendant’s Student Health Services’ above-mentioned location.

                               MATERIAL FACTS

17. Plaintiff began working for Defendant UNIVERSITY OF PENNSYLVANIA in or

   around April 4, 2010.

18. Throughout the course of her employment with Defendant UNIVERSITY OF

   PENNSYLVANIA, Plaintiff worked as a certified medical assistant for Defendant’s

   Student Health Services.

19. That at all times material Plaintiff rotated amongst three main areas of Defendant’s

   Student Health Services:    Women’s Health, Primary Care, and Phlebotomy.

20. In or around September 2015, Defendants became aware that Plaintiff was diagnosed

   with Irritable Bowel Syndrome, anxiety, and major depressive disorder.

21. Major Depressive Disorder is a psychological disorder which significantly affects

   Plaintiff’s personal relationships, sleep, and overall health.   During flare ups, Plaintiff

   suffers from severe fatigue, an inability to concentrate, headaches, and loss of appetite

   and interest in activity.

22. Irritable Bowel Syndrome is defined as abdominal pain associated with constipation

   and/or diarrhea.    During flare ups Plaintiff suffers with intestinal bloating; abdominal

   pain; irregular bowel habits, including diarrhea, constipation, or both; the need to strain

   to have a bowel movement; a sense of urgency when having a bowel movement; and the

   sensation of not completely emptying her bowels upon having a bowel movement.
        Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 7 of 19



23. At all times material Plaintiff was experiencing issues at home related to domestic

      violence, which gave impetus to her Irritable Bowel Syndrome, Major Depressive

      Disorder, and anxiety.

24.     On or around September 2015, Plaintiff submitted a PTO request to Defendants

      BRYAN and CUNNINGHAM for December 16, 2015.               Plaintiff explained that she was

      having health issues related to her Irritable Bowel Syndrome, Anxiety, and Depression

      and that she needed to be evaluated by her doctor for Irritable Bowel Syndrome as she

      was experiencing severe abdominal plain.

25.     Following the above discovery, Defendants subjected Plaintiff to numerous acts of

      disability discrimination, retaliation, and a hostile work environment, all of which

      exasperated Plaintiff’s Irritable Bowel Syndrome, Major Depressive Disorder, and

      Anxiety.

26. Prior to Plaintiff’s scheduled doctor’s appointment and on or about December 15, 2015

      Plaintiff contacted Defendant BRYAN and informed her that Plaintiff needed to call out

      of work that day since she was having bloody stool and severe abdominal pains.

27. Thereafter and on or around December 17, 2015, Plaintiff reported for work and

      presented the December 16, 2015 doctor’s note to Defendant BRYAN, who, thereafter

      gave the doctor’s note to Defendant GROSS.         Notwithstanding the note, Defendant

      GROSS met with Plaintiff and gave Plaintiff an “oral” warning with words to the effect

      of, “Since, July 1, 2015 you have called out 13 times.   This is an unacceptable level of

      unscheduled absences (call outs) and as a result you are receiving an oral warning.”

28.     Defendants exasperated Plaintiff’s health issues related to her Irritable Bowel

      Syndrome and as a result Plaintiff began taking more and more bathroom breaks.
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 8 of 19



29. In response to Plaintiff’s frequent bathroom breaks, Plaintiff’s co-workers frequently

   commented on Plaintiff’s bathroom breaks.         By means of example only, whenever

   Plaintiff would go to the bathroom, Plaintiff would hear coworkers asking with words to

   the effect of, “Where’s Abby?” and “You [indicating Plaintiff] need to get your act

   together.”

30. In or around August 2016, Plaintiff contacted Defendant GROSS and informed

   Defendant GROSS that Plaintiff was concerned that she was going to be retaliated

   against for having to take frequent bathroom breaks and for taking off work due to IBS-

   related issues.

31. Sometime thereafter, and around September 2016, Defendant GROSS approached

   Plaintiff to speak to her about Plaintiff’s frequent bathroom visits and finally informed

   Plaintiff that she should consider utilizing leave under the Family Medical Leave Act

   (hereinafter “FMLA”).

32. Thereafter, and sometime in September 2016, Plaintiff applied and was approved for

   intermittent FMLA leave for September 7, 2016 through December 6, 2016.

33. On or about September 7, 2016 Plaintiff began utilizing her intermittent FMLA leave.

34. Almost immediately thereafter, Plaintiff was reassigned to work in Primary Care only.

35. At all times material, Primary Care was a busier unit than both Women’s Health and

   Phlebotomy a result of which made it increasingly difficult for Plaintiff to take bathroom

   breaks.

36. On or about September 29, 2016, Defendant BRYAN accused Plaintiff that going

   “missing” after Plaintiff had come back from the bathroom.

37. In response, Plaintiff explained to Defendant CUNNINGHAM that Plaintiff was having

   issues related to her Irritable Bowel Syndrome.
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 9 of 19



38. Sometime in the end of December 2016, Plaintiff again applied for and was approved

   for intermittent FMLA for December 7, 2016 through July 6, 2017.

39. Sometime around the end of January – early February of 2017 Plaintiff reported to

   Defendant CURRAN to address comments made by Plaintiff’s coworkers and Defendant

   CUNNINGHAM concerning Plaintiff’s bathroom breaks.

40. In response Defendant CURRAN held a meeting that included Plaintiff, Defendant

   BRYAN, Defendant CUNNINGHAM, and Defendant GROSS to discuss “reasonable

   accommodations” for Plaintiff’s Irritable Bowel Syndrome.

41. Despite the meeting, Defendants continued to nitpick Plaitniff’s bathroom breaks and

   deliberately exacerbated Plaintiff’s anxiety, depression, and Irritable Bowel Syndrome by

   chastising Plaintiff whenever Plaintiff had to take a bathroom break.

42. On or about February 1, 2017 Defendant GROSS complained to Plaintiff about

   Plaintiff’s number of FMLA absences and directed Plaintiff to obtain a medical clearance

   from her treating doctor in order for Plaintiff to return to work.

43. Thereafter and on or about February 6, 2017, Plaintiff faxed her letter of clearance to

   Defendant GROSS.

44. On or about March 15, 2017, Defendants unlawfully terminated Plaintiff.

45. Defendants failed to provide Plaintiff with a reasonable accommodation and failed to

   engage in the interactive process of determining a reasonable accommodation for

   Plaintiff.

46. On or about November 1, 2016 Plaintiff approached Defendant BRYAN upon reporting

   to work and Plaintiff, who was visibly distraught, informed Defendant that Plaintiff was

   experiencing domestic violence issues at home with her partner and father of her child.
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 10 of 19



47. Thereafter, and around March 2, 2017, Plaintiff timely reported to work, following a

   long evening/early morning domestic abuse. Upon arrival Plaintiff, texted Defendant

   BRYAN and asked Defendant if she could talk privately with Plaintiff as Plaintiff was

   too emotionally distraught to attend the staff meeting scheduled for that morning.

   Plaintiff advised Defendant BRYAN that Plaintiff wanted to file a PFA but wanted to

   sign into work so as not to get in trouble for being late.

48. Approximately 5 minutes later, Defendant GROSS approached Plaintiff and in an

   abrasive tone accused Plaintiff that Plaintiff was late, with words to the effect of, “You

   cannot be in this condition and have to leave.”

49. In response, Plaintiff felt explained that clients do not arrive until 10:30 am and asked if

   she could call Director of UPENN Special Services.       Defendant GROSS again screamed

   at Plaintiff and yelled words to the effect of, “You cannot be here like this.   You need to

   get your act together.   We will talk tomorrow – be here at 8 a.m.”

50. Immediately thereafter, Plaintiff contacted Special Services and Special Services

   informed Plaintiff that the department was sending someone to drive Plaintiff to court to

   obtain an emergency PFA.

51. While Plaintiff was still on the phone with Special Services, Defendant GROSS entered

   the room and yelled words to the effect of, “You have to leave now!”

52. In response, Plaintiff explained to Special Services that she had to leave her current

   location and that she would walk over to Special Services.

53. Immediately thereafter, Defendant GROSS physically escorted Plaintiff out of the

   student health services building.

54. Thereafter, victim advocate, Tracey Cardella transported Plaintiff to family court in

   Philadelphia whereupon Plaintiff obtained an emergency PFA.
       Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 11 of 19



55. Upon receiving the PFA, Plaintiff reported back to Special Services where she met with

      Direct of Special Services, Patricia Brennan and Associate Director of Special Services,

      Paige Wigginton, who explained to Plaintiff that she spoke with Defendant GROSS and

      that Defendant GROSS understood.          Towards the end of the meeting, Detective

      Perdetha Watson of Special Services informed Plaintiff that per Defendant

      UNIVERSITY OF PENNSYLVANIA’s “domestic leave policy” Plaintiff could apply

      for FMLA.     Plaintiff replied that she was already utilizing intermittent FMLA for GI

      issues, depression, and anxiety.

56. Throughout the duration of her employment with Defendants, Plaintiff reported to work

      and notified Defendants that Plaintiff continued to experience numerous episodes of

      domestic violence and informed Defendants on numerous occasions that the domestic

      violence she endured caused Plaintiff’s Irritable Bowel Syndrome, Major Depressive

      Disorder and anxiety.

57.     Defendants failed to apprise Plaintiff of her right to apply for additional leave based on

      Plaintiff’s status of a domestic violence victim and as such unlawfully discriminated

      against Plaintiff based on her status as a domestic violence victim.

58. On or around April 20, 2016, Plaintiff submitted a PTO request for April 22, 2016 to

      celebrate Passover as Plaintiff had done in previous years to celebrate Passover.     Even

      though Plaintiff was the only Jewish worker in her department, Defendant BRYAN

      denied Plaintiff’s request explaining that she already agreed to allow two employees to

      leave work early on April 22, 2016.

59. In response, Plaintiff asked if she could work until noon on Pass Over, however,

      Defendant BRYAN replied that Passover did not start until sundown and said that

      Plaintiff could work from 8-4PM as opposed to her regular 9-5PM shift.         In response
       Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 12 of 19



      Plaintiff explained to Defendant BRYAN that Plaintiff’s family was gathering at 2:00

      PM for Passover, however Defendant BRYAN still denied Plaintiff PTO.

60. Thereafter and on April 22, 2016, Plaintiff called out of work so that she could observe

      Passover.

61. Subsequently and on or about April 26, 2016, Defendant GROSS issued Plaintiff a

      written warning alleging that Plaintiff missed too many days of work and that Plaintiff

      was having trouble getting her administrative duties done.       In response, Plaintiff asked

      Defendant GROSS to provide Plaintiff with specific examples of tasks that were not

      being completed, however none were provided.

62. In addition, Defendant GROSS stated that Plaintiff would not be paid for April 22, 2016,

      using words to the effect of, “In addition, given that your request for paid time off was

      denied, you will not be paid for your absence from work on Friday, April 22, 2016.”

63.     On or about March 15, 2017, Plaintiff was wrongfully terminated for allegedly

breaching Defendants’ absence policy.

64. Defendants wrongfully terminated Plaintiff because of Plaintiff’s disabilities, religion,

and status as a domestic violence victim, and in response to her request for a reasonable

accommodation for bathroom breaks and in retaliation for Plaintiff’s continued complaints of

unlawful conduct.

65. That as a result of Defendants conduct, Plaintiff was caused to sustain serious and permanent

      personal injuries, including permanent psychological injuries.

66. As a result of Defendant’s actions, Plaintiff felt extremely humiliated, degraded,

      victimized, embarrassed and emotionally distressed.

67. As a result of the acts and conduct complained of herein, Plaintiff has suffered and will

      continue to suffer the loss of income, the loss of salary, bonuses, benefits and other
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 13 of 19



    compensation which such employment entails, and Plaintiff also suffered future

    pecuniary losses, emotional pain, humiliation, suffering, inconvenience, loss of

    enjoyment of life, and other non-pecuniary losses. Plaintiff has further experienced

    severe emotional and physical distress.

68. As Defendant’s conduct has been malicious, willful, outrageous, and conducted with full

    knowledge of the law, Plaintiff demands Punitive Damages as against Defendant.

69. The above are just some examples, of some of the discrimination and retaliation to which

    Defendant subjected Plaintiff.

70. Defendants have exhibited a pattern and practice of not only discrimination but also

    retaliation.



                              AS A FIRST CAUSE OF ACTION
                          FOR DISCRIMINATION UNDER TITLE VII
                              (Not Against Individual Defendants)

71. Plaintiff repeats and reallege each and every allegation made in the above paragraphs of this

    Complaint.

72. Title VII of the Civil Rights Act of 1964, as amended, states in relevant parts as follows: § 2000e-

    2. [Section 703](a) Employer Practices: It shall be an unlawful employment practice for an

    employer -- (1) to fail or refuse to hire or to discharge any individual, or otherwise to discriminate

    against any individual with respect to his compensation, terms, conditions, or privileges of

    employment, because of such individual’s race, color, religion, sex, or national origin.

73. Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. § 2000e et seq.,

    by discriminating against Plaintiff because of her religion.


                             AS A SECOND CAUSE OF ACTION
                            FOR RETALIATION UNDER TITLE VII
      Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 14 of 19



                                 (Not Against Individual Defendants)

74. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of this

    Complaint.

75. Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-3(a) provides that it

    shall be an unlawful employment practice for an employer: “(1) to…discriminate against any of

    his employees…because [s]he has opposed any practice made an unlawful employment practice

    by this subchapter, or because [s]he has made a charge, testified, assisted, or participated in any

    matter in an investigation, proceeding, or hearing under this subchapter.”

76. Defendants engaged in unlawful employment practices prohibited by 42 U.S.C. § 2000e et seq.

    by retaliating against Plaintiff with respect to the terms, conditions, and/or privileges of her

    employment because of her opposition to and reporting of the unlawful employment practices of

    Defendants.


               AS A THIRD CAUSE OF ACTION FOR DISCRIMINATION
                 UNDER THE AMERICANS WITH DISABILITIES ACT
                         (Not Against Individual Defendants)

77. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

    this Complaint.

78. Title 42 of the Americans with Disabilities Act of 1990 (Pub. L. 101-336), Chapter 126,

    Subchapter I, § 12112, Discrimination [Section 102] states: “(a) General rule. - No

    covered entity shall discriminate against a qualified individual on the basis of disability

    in regard to job application procedures, the hiring, advancement, or discharge of

    employees, employee compensation, job training, and other terms, conditions, and

    privileges of employment.”
     Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 15 of 19



79. Defendants engaged in an unlawful discriminatory practice by discriminating against

   Plaintiff because of her disabilities.

80. As such, Plaintiff has been damaged as set forth herein.

              AS A FOURTH CAUSE OF ACTION FOR RETALIATION
               UNDER THE AMERICANS WITH DISABILITIES ACT
                       (Not Against Individual Defendants)

81. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

   this Complaint.

82. Title 42 of the Americans with Disabilities Act of 1990 (Pub. L. 101-336), Chapter 126,

   Subchapter IV, § 12203, states: “(a) Retaliation: No person shall discriminate against any

   individual because such individual has opposed any act or practice made unlawful by this

   chapter or because such individual made a charge, testified, assisted, or participated in

   any manner in an investigation, proceeding, or hearing under this chapter.”

83. Defendants engaged in an unlawful discriminatory practice by discriminating against and

   retaliating against Plaintiff because of her opposition to Defendants’ unlawful

   employment practices.

84. As such, Plaintiff has been damaged as set forth herein.

                        AS A FIFTH CAUSE OF ACTION
                    FOR RETALIATION AND INTERFERENCE
                 UNDER THE FAMILY AND MEDICAL LEAVE ACT

85. Plaintiff repeats and realleges each and every allegation made in the above paragraphs of

   this Complaint.

86. Title 29 of the Family and Medical Leave Act of 1993, Chapter 28, Subchapter I, § 2615

   states as follows: “Prohibited Acts: (a) Interference with Rights (1) Exercise of Rights: It

   shall be unlawful for any employer to interfere with, restrain, or deny the exercise of or

   the attempt to exercise and right provided under this subchapter. (2) Discrimination: It
          Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 16 of 19



        shall be unlawful for any employer to discharge or in any other manner discriminate

        against any individual for opposing any practice made unlawful by this subchapter.”

    87. Defendants interfered with Plaintiff’s rights under the above section and discriminated

        against Plaintiff for opposing Defendants’ unlawful employment practice and exercising

        her rights.

                                              JURY DEMAND

Plaintiff requests a jury trial on all issues to be tried.


                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

in an amount to be determined at the time of trial plus interest, including but not limited to all

emotional distress and back pay and front pay, punitive damages, liquidated damages, statutory

damages, attorneys’ fees, costs, and disbursements of action; and for such other relief as the

Court deems just and proper.



Dated: Philadelphia, Pennsylvania
February 22, 2018

                                                    DEREK SMITH LAW GROUP, PLLC
                                                    Attorneys for Plaintiffs

                                                By: /s _____________________________
                                                   Caroline H. Miller, Esq.
                                                   1845 Walnut Street, Suite 1601
                                                   Philadelphia, Pennsylvania 19103
                                                   (215) 391-4790
                                               UNITEDDocument
                              Case 2:18-cv-00794-JHS  STATES DISTRICT COURT Page 17 of 19
                                                              1 Filed 02/23/18
FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:      4209 Chestnut Street, Philadelphia, Pennsylvania 19104
Address of Defendant:         3451 Walnut Street, Philadelphia, PA 19104
Place of Accident, Incident or Transaction:     3451 Walnut Street, Philadelphia, PA 19104
                                                                        (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))                                 Yes9        9
                                                                                                                                           NoX

Does this case involve multidistrict litigation possibilities?                                                                   Yes9        9
                                                                                                                                           NoX
RELATED CASE, IF ANY:
Case Number:                                       Judge                                             Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                Yes9      NoX 9
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               Yes9       NoX 9
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court?                                                                                           Yes9         9
                                                                                                                                            NoX


4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 Yes9         9
                                                                                                                                            NoX


CIVIL: (Place    U in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                               B. Diversity Jurisdiction Cases:
 1. 9 Indemnity Contract, Marine Contract, and All Other Contracts                                       1. 9 Insurance Contract and Other Contracts
 2. 9 FELA                                                                                               2. 9 Airplane Personal Injury
 3. 9 Jones Act-Personal Injury                                                                          3. 9 Assault, Defamation
 4. 9 Antitrust                                                                                          4. 9 Marine Personal Injury
 5. 9 Patent                                                                                             5. 9 Motor Vehicle Personal Injury
 6. 9 Labor-Management Relations                                                                         6. 9 Other Personal Injury (Please specify)
 7. X
    9 Civil Rights                                                                                       7. 9 Products Liability
 8. 9 Habeas Corpus                                                                                      8. 9 Products Liability — Asbestos
 9. 9 Securities Act(s) Cases                                                                            9. 9 All other Diversity Cases
10. 9 Social Security Review Cases                                                                                (Please specify)
11. 9 All other Federal Question Cases
           (Please specify)

                                                                 ARBITRATION CERTIFICATION
                                                                        (Check Appropriate Category)
I,         Caroline H. Miller                              , counsel of record do hereby certify:
  9 Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
  9 Relief other than monetary damages is sought.

DATE:           2/22/2018                                  Caroline H. Miller                                                             321420
                                                          Attorney-at-Law                                                           Attorney I.D.#
                                         NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:          2/22/2018                              Caroline H. Miller                                                              321420
                                                            Attorney-at-Law                                                          Attorney I.D.#
CIV. 609 (5/2012)
              Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 18 of 19
                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                CASE MANAGEMENT TRACK DESIGNATION FORM
ABBY SLAKOFF
                                                              :              CIVIL ACTION
                                                              :
                                     v.                       :
TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, ANNE CUNNINGHAM
                                                              :
(individually), SUSAN CURRAN (individually),
ERIKA GROSS (individually) and MARY BRYAN
                                                              :              NO.
(individually).

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.                   (X )


     02/22/2018                                Caroline H. Miller         Abby Slakoff
Date                                           Attorney-at-law           Attorney for

     215-391-4790                              215-893-5288               caroline@dereksmithlaw.com
Telephone                                      FAX Number                E-Mail Address


(Civ. 660) 10/02
          Case 2:18-cv-00794-JHS Document 1 Filed 02/23/18 Page 19 of 19

                              Civil Justice Expense and Delay Reduction Plan
                             Section 1:03 - Assignment to a Management Track

    (a)          The clerk of court will assign cases to tracks (a) through (d) based on the initial pleading.
    (b)           In all cases not appropriate for assignment by the clerk of court to tracks (a) through (d), the
plaintiff shall submit to the clerk of court and serve with the complaint on all defendants a case management
track designation form specifying that the plaintiff believes the case requires Standard Management or
Special Management. In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on the
plaintiff and all other parties, a case management track designation form specifying the track to which that
defendant believes the case should be assigned.

    (c)         The court may, on its own initiative or upon the request of any party, change the track
assignment of any case at any time.
     (d)         Nothing in this Plan is intended to abrogate or limit a judicial officer's authority in any case
pending before that judicial officer, to direct pretrial and trial proceedings that are more stringent than those
of the Plan and that are designed to accomplish cost and delay reduction.

     (e)        Nothing in this Plan is intended to supersede Local Civil Rules 40.1 and 72.1, or the
procedure for random assignment of Habeas Corpus and Social Security cases referred to magistrate judges
of the court.

                            SPECIAL MANAGEMENT CASE ASSIGNMENTS
                             (See §1.02 (e) Management Track Definitions of the
                              Civil Justice Expense and Delay Reduction Plan)
     Special Management cases will usually include that class of cases commonly referred to as "complex
litigation" as that term has been used in the Manuals for Complex Litigation. The first manual was prepared
in 1969 and the Manual for Complex Litigation Second, MCL 2d was prepared in 1985. This term is
intended to include cases that present unusual problems and require extraordinary treatment. See §0.1 of the
first manual. Cases may require special or intense management by the court due to one or more of the
following factors: (1) large number of parties; (2) large number of claims or defenses; (3) complex factual
issues; (4) large volume of evidence; (5) problems locating or preserving evidence; (6) extensive discovery;
(7) exceptionally long time needed to prepare for disposition; (8) decision needed within an exceptionally
short time; and (9) need to decide preliminary issues before final disposition. It may include two or more
related cases. Complex litigation typically includes such cases as antitrust cases; cases involving a large
number of parties or an unincorporated association of large membership; cases involving requests for
injunctive relief affecting the operation of large business entities; patent cases; copyright and trademark
cases; common disaster cases such as those arising from aircraft crashes or marine disasters; actions brought
by individual stockholders; stockholder's derivative and stockholder's representative actions; class actions or
potential class actions; and other civil (and criminal) cases involving unusual multiplicity or complexity of
factual issues. See §0.22 of the first Manual for Complex Litigation and Manual for Complex Litigation
Second, Chapter 33.
